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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,
              Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CARLETON
  NELSON; CASEY KIRSCHNER;
  ALLCORE DEVELOPMENT LLC;
  FINBRIT HOLDINGS LLC; CHESHIRE
                                                 CASE NO. 1:20-CV-484-RDA-TCB
  VENTURES LLC; 2010 IRREVOCABLE
  TRUST; SIGMA REGENERATIVE
  SOLUTIONS LLC; CTBSRM, INC.;
  RODNEY ATHERTON; DEMETRIUS VON
  LACEY; RENRETS LLC,
              Defendants.

  800 HOYT LLC,
              Intervening Interpleader
              Plaintiff / Intervening
              Interpleader Counter-
              Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS, LLC,
              Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON
  DATA SERVICES, INC.,

              Interpleader Defendants /
              Interpleader Counter-Plaintiffs.

   PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
  UNDER SEAL CERTAIN DOCUMENTS IN SUPPORT OF PLAINTIFFS’ RESPONSE
               TO DEFENDANT NELSON’S MOTION TO STRIKE
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           In accordance with the Agreed Protective Order in this case (Dkt. 55), Plaintiffs

  Amazon.com, Inc. and Amazon Data Services, Inc. respectfully seek leave to file under seal the

  unredacted version of their Response to Defendant Carleton Nelson’s Motion to Strike

  (“Response”), the unredacted version of the Declaration of David Casazza in support thereof

  (“Casazza Declaration”), and Exhibits 2, 3, and 7 attached thereto.

           Plaintiffs’ Response contains minor redactions, and the redacted material is entirely

  drawn from the aforementioned Exhibits. Exhibit 3 contains transcript excerpts from the

  deposition of Defendant Brian Watson, which occurred on August 16, 2022. Exhibit 2 is an

  exhibit to the deposition. The Agreed Protective Order in this case requires all deposition

  transcripts to be designated as “Highly Confidential – Outside Attorneys’ Eyes Only” until ten

  (10) days has passed from receipt of the deposition transcript. Plaintiffs have designated Exhibit

  3 as such because the parties received the transcript of this deposition within the time frame

  outlined in the Agreed Protective Order.        And Plaintiffs have filed Exhibit 2 under seal

  accordingly. Exhibit 7 is an October 12, 2018 executed letter between Ergo Law, on the one

  hand, and Casey Kirschner, Carleton Nelson, CBTSRM, Inc., AllCore Development LLC, and

  the 2010 Trust, on the other hand, which has been designated as confidential pursuant to the

  Agreed Protective Order. The Casazza Declaration contains references and descriptions of the

  redacted material drawn from the aforementioned Exhibits.

         Although “the common law and the First Amendment presume a public right of access to

  court documents,” Malon v. Franklin Financial Corp., No. 3:14CV671, 2014 WL 12768782, at

  *2 (E.D. Va. Dec. 4, 2014) (citing Stone v. Univ. Md. Med. Sys. Corp., 855 F.2d 178, 180 (4th Cir.

  1988)), “the Fourth Circuit has nonetheless stated that a district court ‘may, in its discretion, seal

  documents if the public’s right of access is outweighed by competing interests,’” id. (quoting In




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  re Knight Publ’g Co., 743 F.2d 231, 235 (4th Cir. 1984)). In determining whether to grant a motion

  to seal, the district court must engage with three requirements articulated by the Fourth Circuit in

  Ashcraft v. Conoco, Inc.: “[I]t must (1) provide public notice of the request to seal and allow

  interested parties a reasonable opportunity to object, (2) consider less drastic alternatives to sealing

  the documents, and (3) provide specific reasons and factual findings supporting its decision to seal

  the documents and for rejecting the alternatives.” 218 F.3d 288, 302 (4th Cir. 2000).

           Plaintiffs’ request to seal the unredacted version of their Response, the unredacted

  version of the Casazza Declaration, and Exhibits 2, 3, and 7 attached thereto satisfies all three

  Ashcraft factors. Regarding the first factor, the public will have adequate notice of Plaintiffs’

  request to seal, through the instant motion and notice of motion to seal as required by Local Civil

  Rule 5. As to the second and third Ashcraft factors, sealing is appropriate, and no less drastic

  alternatives to sealing exist. The material is not publicly available, and it contains confidential

  employment information and deposition material that the Court has recognized should remain

  under seal. Dkt. 55. Plaintiffs therefore respectfully request that the Court grant this motion.

  See, e.g., Mars, Inc. v. J.M. Smucker Co., 2017 WL 11499735 (E.D. Va. Aug. 9, 2017) (granting

  motion to seal where “the information sought to be filed under seal may contain data and

  information that [were] designated as ‘Confidential,’ . . . under the Amended Protective Order

  governing th[e] case”); Malon, 2014 WL 12768782, at *3 (granting motion to seal where

  documents were marked “confidential” pursuant to a protective order).




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   Dated: September 2, 2022           Respectfully submitted,

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                               Services, Inc.




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on September 2, 2022, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system. I will then send the document and a notification of such

  filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

  noted:



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